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                       UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF MISSOURI
                              ST. JOSEPH DIVISION

   In Re
                                                       Case No: 17-50087-can13
   Margaret Ann Nash,
              Debtor.                                  Chapter 13
   Seterus, Inc., as authorized
   subservicer for Federal National
   Mortgage Association ("Fannie Mae"),                CERTIFICATE OF SERVICE
   its successors and assigns,
                Movant.

   v.

   Margaret Ann Nash,                                  Kozeny & McCubbin, L.C.
              Debtor,                                  12400 Olive Blvd., Suite 555
                                                       St. Louis, MO 63141
   and                                                 wdmo@km-law.com
   Richard Fink, Trustee,
               Respondents.


                              CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a copy of the Notice of Postpetition

   Mortgage Fees, Expenses, and Charges and a copy of this pleading were served

   by U.S. First Class Mail the 27th day of July, 2017 to the parties listed below:

   Margaret Ann Nash
   Debtor
   3210 Normandy Rd
   Saint Joseph, MO 64505

   Noah J. Briles
   Attorney for Debtor
   918 Francis St.
   St. Joseph, MO 64501




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   Richard Fink
   Trustee
   Suite 1200
   2345 Grand Blvd.
   Kansas City, MO 64108-2663

   U.S. Trustee
   Office of the U.S. Trustee
   400 E. 9th St. Room 3440
   Kansas City, MO 64106



                                                Respectfully submitted,


                                                /s/H. Joseph Esry
                                                Jonathon B. Burford, #59337
                                                H. Joseph Esry, #66708
                                                Attorneys for Movant
                                                12400 Olive Blvd., Suite 555
                                                St. Louis, MO 63141
                                                Phone: (314) 991-0255
                                                Fax: (314) 567-8019
                                                wdmo@km-law.com




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